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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:17CR18

       vs.
                                                                        ORDER
MACHELLE R. SANCHEZ,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND THE PRETRIAL
MOTIONS DEADLINE [21]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 30-day extension. Pretrial Motions shall be filed by
April 13, 2017.


       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND THE PRETRIAL MOTIONS DEADLINE
[21] is granted. Pretrial motions shall be filed on or before April 13, 2017.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between March 14, 2016 and April 13, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).


       Dated this 15th day of March, 2017.

                                                     BY THE COURT:

                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
